UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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                                                          :
UNITED STATES OF AMERICA,                                 :
                                                          :
                      v.                                  :   No. 17 Cr. 357 (LAK)
                                                          :
DAVID BLASZCZAK,                                          :
THEODORE HUBER,                                           :
ROBERT OLAN, and                                          :
CHRISTOPHER WORRALL,                                      :
                                                          :
                                    Defendants.           :
                                                          :
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             DECLARATION OF STEPHEN FISHBEIN IN SUPPORT OF
              DEFENDANTS CHRISTOPHER WORRALL AND DAVID
         BLASZCZAK’S JOINT MOTION IN LIMINE TO EXCLUDE EVIDENCE
                  UNDER FEDERAL RULE OF EVIDENCE 403
            AND TO STRIKE PARAGRAPH 25(b) OF THE INDICTMENT


        STEPHEN FISHBEIN, pursuant to 28 U.S.C. § 1746, hereby declares under the penalty

of perjury as follows:

        1.       I am a partner of the New York office of the law firm Shearman & Sterling LLP,

counsel for Christopher Worrall, defendant in these proceedings. I submit this Declaration in support

of the Motion of defendants Christopher Worrall and David Blaszczak for an order excluding from

trial irrelevant and prejudicial material, and striking paragraph 25(b) from the Superseding

Indictment.

        2.       Attached as Exhibit A is a true and correct copy of a series of text messages

exchanged by Blaszczak and Worrall on August 9, 2014.




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       I declare under penalty of perjury that the foregoing is true and correct. Executed on this

23rd day of March, in the year 2018, in New York, New York.


Dated: New York, New York                              Respectfully submitted,

March 23, 2018                                         /s/ Stephen Fishbein

                                                       Stephen Fishbein
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EXHIBIT A

(Redacted)
